Case 3:21-cv-05227-JD Document 360-28 Filed 03/27/23 Page 1 of 11




                    Exhibit 27
Sent:     Tue 10/27/2020 4:44:36 PM (UTC)
From:                Case 3:21-cv-05227-JD Document 360-28 Filed 03/27/23 Page 2 of 11
          jsinouye@google.com
To:       jsinouye@google.com, ashrafh©google.com, cdimon@google.com, linsherry@google.com, slundberg@google.com,
camillestewart©google.com, rahmanj@google.com
Subject: AAAAVOpuz7Y-MBI-THREADED:gJC3wyRxr_4°/0°/0°/02020-10-26T21:44:35.831391


 jsinouye@google.com 2020-10-27T16:44:35.831Z

 Hi, please use this chat for ops/policy/BD/escalations issues that need faster response. Please note: I would like to keep
 history off. Members are Shie, Camille, Dan, Court, Sherry, Jintae, Ash, Jami, me.

 Deleted on2022-04-20T16:44:35.831Z

 Hi, please use this chat for ops/policy/BD/escalations issues that need faster response. Please note: I would like to keep
 history off. Members are Shie, Camille, Dan, Court, Sherry, Jintae, Ash, Jami, me.

 ashrafh@google.com 2020-10-27T16:46:04.533Z

 Amazing► Thanks for creating, John!!

 Deleted on2022-04-20T16:46:04.533Z

 Amazing► Thanks for creating, John!!

 cdimon@google.com 2020-10-27T17:20:40.817Z

 Thanks John.

 Also, please do not share sensitive information here where possible. Rather, you can flag documents, email threads, etc. for
 attention.

 Deleted on2022-04-20T17:20:40.817Z

 Thanks John.

 Also, please do not share sensitive information here where possible. Rather, you can flag documents, email threads, etc. for
 attention.

 cdimon@google.com 2020-10-27T17:21:24.853Z

 Until we fix the room architecture, content here is searchable/discoverable within the corp. But this is a great venue to raise
 an issue for visibility, get input, etc.

 Deleted on2022-04-20T17:21:24.853Z

 Until we fix the room architecture, content here is searchable/discoverable within the corp. But this is a great venue to raise
 an issue for visibility, get input, etc.

 jsinouye@google.com 2020-10-27T17:25:09.206Z

 The IDAC issue that folks know about is progressing well. We've collected all required information for execs. The next
 step is get Policy's feedback on the Prominent Disclosure statements in two critical apps (doing so with Camille at 11:15).
 Then after, Sherry will convene a meeting with exes to discuss findings and get a decision on how to communicate those
 findings with the right external folks.

 Deleted on2022-04-20T17:25:09.206Z

 The IDAC issue that folks know about is progressing well. We've collected all required information for execs. The next
 step is get Policy's feedback on the Prominent Disclosure statements in two critical apps (doing so with Camille at 11:15).
  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                        GOOG-PLAY5-000163640
Then after, Sherry will
                     Caseconvene  a meeting with exes
                            3:21-cv-05227-JD          to discuss
                                                  Document       findings Filed
                                                               360-28     and get a decisionPage
                                                                                03/27/23    on how to communicate
                                                                                                 3 of 11          those
findings with the right external folks.

jsinouye@google.com 2020-10-27T18:08:11.162Z

From Camille- Got the Kristie approval as well so this comes down to 1) a clear BD & comms response plan and 2)
finalizing the Ops plan. Am I missing anything?

Deleted on2022-04-20T18:08:11.162Z

From Camille- Got the Kristie approval as well so this comes down to 1) a clear BD & comms response plan and 2)
finalizing the Ops plan. Am I missing anything?

jsinouye@google.com 2020-10-27T18:08:53.379Z

@Camille Stewart. Yes, I think that's it. @Ash Hassan. Could you help prep delay language for BD and BDOps?

Deleted on2022-04-20T18:08:53.379Z

@Camille Stewart. Yes, I think that's it. @Ash Hassan. Could you help prep delay language for BD and BDOps?

jsinouye@google.com 2020-10-27T18:09:27.601Z

@Jintae Kim and @Sherry Lin. Please let folks know how we can help finalize the prioritization for app review.

Deleted on2022-04-20T18:09:27.601Z

@Jintae Kim and @Sherry Lin. Please let folks know how we can help finalize the prioritization for app review.

linsherry@google.com 2020-10-28T14:23:36.454Z

Hi team, good morning. Some small quick updates re the IDAC escalation. PR has confirmed from the Vice reporter that
because the report findings on the Biden app weren't correct, Vice is choosing not to cover pending more information.
IDAC hasn't published independently yet. Engagement with Trump campaign on findings still likely to occur today, but
BD/GAPP confirming that timeline.

Deleted on2022-04-21T14:23:36.454Z

Hi team, good morning. Some small quick updates re the IDAC escalation. PR has confirmed from the Vice reporter that
because the report findings on the Biden app weren't correct, Vice is choosing not to cover pending more information.
IDAC hasn't published independently yet. Engagement with Trump campaign on findings still likely to occur today, but
BD/GAPP confirming that timeline.

jsinouye@google.com 2020-10-28T14:27:29.344Z

Thanks, Sherry. Very clear. I think we need explicit confirmation that we should communicate issues to the Trump folks
even if the IDAC report does not drop. They still could stand to fix some issues.

Deleted on2022-04-21T14:27:29.344Z

Thanks, Sherry. Very clear. I think we need explicit confirmation that we should communicate issues to the Trump folks
even if the IDAC report does not drop. They still could stand to fix some issues.

linsherry@google.com 2020-10-28T14:28:25 .022Z

Sounds good, John. @Ash Hassan is confirming that timeline for comms now.

Deleted on2022-04-21T14:28:25 .022Z


 HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                    GOOG-PLAY5-000163641
Sounds good, John.Case
                   @Ash3:21-cv-05227-JD      that timeline360-28
                        Hassan is confirming Document      for comms now.03/27/23 Page 4 of 11
                                                                   Filed
ashrafh@google.com 2020-10-28T14:28:47.552Z

yup confirming with Andrew now

Deleted on2022-04-21T14:28:47.552Z

yup confirming with Andrew now

slundberg@google.com 2020-10-28T16:52:04.064Z

hi all

Deleted on2022-04-21T16:52:04.064Z

hi all

camillestewart@google.com 2020-10-28T16:52:15 .479Z

Hello!

Deleted on2022-04-21T16:52:15 .479Z

Hello!

slundberg@google.com 2020-10-28T16:52:20.874Z

totally different topic but heard that there is a movie called Trump Card

Deleted on2022-04-21T16:52:20.874Z

totally different topic but heard that there is a movie called Trump Card

slundberg@google.com 2020-10-28T16:52:27.023Z

trending to #1 in Play movie

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trending to #1 in Play movie

slundberg@google.com 2020-10-28T16:52:28.762Z

play.google.com/store/movies

http://play.google.com/store/movies
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play.google.com/store/movies

http ://play. google. corn/store/movie s
slundberg@google.com 2020-10-28T16:52:43.354Z

https://play.google.com/store/movies/details/Trump Card?id=E18eKmfpLzA.P

https://play. google . com/store/movie s/de tails/Trump Card?id=El8eKmfpLzA.P
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https://play.google.com/store/movies/details/Trump Card?id=E18eKmfpLzA.P
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https://play.google.comistore/moviesidetails/Trump
                    Case 3:21-cv-05227-JD Document Card?id=E18eKmfpLzA.P
                                                          360-28 Filed 03/27/23 Page 5 of 11
slundberg@google.com 2020-10-28T16:53:01.938Z

I believe the movie team passed it via review, and they are worried that it's trending up

Deleted on2022-04-21T16:53:01.938Z

I believe the movie team passed it via review, and they are worried that it's trending up

slundberg@google.com 2020-10-28T16:53:10.606Z

I directed them to S&D and Merch team

Deleted on2022-04-21T16:53:10.606Z

I directed them to S&D and Merch team

slundberg@google.com 2020-10-28T16:53:22.588Z

Just wanted to put this on your radar

Deleted on2022-04-21T16:53:22.588Z

Just wanted to put this on your radar

camillestewart@google.com 2020-10-28T16:53:34.561Z

Yes, trying to get background so we can support merch & GoogleTV on making a decision

Deleted on2022-04-21T16:53:34.561Z

Yes, trying to get background so we can support merch & GoogleTV on making a decision

camillestewart@google.com 2020-10-28T16:53:41.669Z

Thank you for flagging!

Deleted on2022-04-21T16:53:41.669Z

Thank you for flagging!

slundberg@google.com 2020-10-28T16:53:54.323Z

btw - Heard IDAC report is not going to be published I heard now that Biden app is compliant

Deleted on2022-04-21T16:53:54.323Z

btw - Heard IDAC report is not going to be published I heard now that Biden app is compliant

slundberg@google.com 2020-10-28T16:54:13.473Z

Not sure when Ash (or GAPP?) is talking to Trump app POC, but fyi

Deleted on2022-04-21T16:54:13.473Z

Not sure when Ash (or GAPP?) is talking to Trump app POC, but fyi

camillestewart@google.com 2020-10-28T16:54:35.887Z

They confirmed it won't be released at all?
 HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                    GOOG-PLAY5-000163643
Deleted on2022-04-21T16:54:35 .887Z
                 Case 3:21-cv-05227-JD Document 360-28 Filed 03/27/23 Page 6 of 11
They confirmed it won't be released at all?

slundberg@google.com 2020-10-28T16:55:03.747Z

SF confirmed

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SF confirmed

camillestewart@google.com 2020-10-28T16:55:15 .141Z

oh great

Deleted on2022-04-21T16:55:15.141Z

oh great

slundberg@google.com 2020-10-28T16:55:19.477Z

yep

Deleted on2022-04-21T16:55:19.477Z

yep

camillestewart@google.com 2020-10-28T16:55:33.998Z

Hoping @Ash Hassan and Andrew can confirm comms timeline soon

Deleted on2022-04-21T16:55:33.998Z

Hoping @Ash Hassan and Andrew can confirm comms timeline soon

ashrafh@google.com 2020-10-28T17:03:09.939Z

Comms timeline pending Andrew's discussion with his VP post the hearing. WIll keep all updated as soon as I hear back.
Thanks!

Deleted on2022-04-21T17:03:09.939Z

Comms timeline pending Andrew's discussion with his VP post the hearing. WIll keep all updated as soon as I hear back.
Thanks!

jsinouye@google.com 2020-10-28T17:05:05.528Z

Also, there were 18 other apps identified in the IDAC report. Jintae's team has done content review; one has an enforceable
violation, but no action has been taken on the violation. I've sent email this morning to Saurav B. and Yen Ming for
security review in the same line as was done for Biden and Trump apps. We've asked them to prioritize by number of
installs because time is short. Hopefully this will come to nothing, but want to get ahead of any future IDAC reporting. If
Vice didn't pick it up, folks think they can amend and shop the story around again.

Deleted on2022-04-21T17:05:05.528Z

Also, there were 18 other apps identified in the IDAC report. Jintae's team has done content review; one has an enforceable
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 HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                     GOOG-PLAY5-000163644
installs because timeCase
                      is short. Hopefully this will Document
                            3:21-cv-05227-JD        come to nothing,
                                                               360-28but want
                                                                          Filedto03/27/23
                                                                                  get ahead of any future
                                                                                             Page         IDAC reporting. If
                                                                                                    7 of 11
Vice didn't pick it up, folks think they can amend and shop the story around again.

slundberg@google.com 2020-10-28T17:29:41.310Z

kk

Deleted on2022-04-21T17:29:41.310Z

kk

slundberg@google.com 2020-10-28T17:29:47.913Z

thanks

Deleted on2022-04-21T17:29:47.913Z

thanks

jsinouye@google.com 2020-10-28T17:55:32.459Z

Andrew Ladner from GAPP just reported in the Situation Room that he'll start engaging Ash to talk about timeline and
comms to Trump campaign. Nothing for anyone to do here...just for awareness.

Deleted on2022-04-21T17:55:32.459Z

Andrew Ladner from GAPP just reported in the Situation Room that he'll start engaging Ash to talk about timeline and
comms to Trump campaign. Nothing for anyone to do here...just for awareness.

ashrafh@google.com 2020-10-28T18:02:54.584Z

Thanks, John! Can we address the unresolved comments in the comms doc so we can be ready to go?

Deleted on2022-04-21T18:02:54.584Z

Thanks, John! Can we address the unresolved comments in the comms doc so we can be ready to go?

jsinouye@google.com 2020-10-28T18:05:18.553Z

I'm waiting for a reply on Android ID v. Ads ID from Saurav, as that is a critical update. I am going to include you in a
Chat that I have with Sherry and Gauray. Will just be a second.

Deleted on2022-04-21T18:05:18.553Z

I'm waiting for a reply on Android ID v. Ads ID from Saurav, as that is a critical update. I am going to include you in a
Chat that I have with Sherry and Gauray. Will just be a second.

ashrafh@google.com 2020-10-28T18:07:47.427Z

SG. Thanks!

Deleted on2022-04-21T18:07:47.427Z

SG. Thanks!

linsherry@google.com 2020-10-28T21:24:37.518Z

Folks, Andrew from GAPP just confirmed he has connected with the campaign and said he will followup with specifics via
email. The campaign is pushing a new build Friday and will try to get any updates to the PD by then and answer the open
Qs about identifiers.
 HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                      GOOG-PLAY5-000163645
Deleted on2022-04-21T21:24:37.518Z
                 Case 3:21-cv-05227-JD Document 360-28 Filed 03/27/23 Page 8 of 11
Folks, Andrew from GAPP just confirmed he has connected with the campaign and said he will followup with specifics via
email. The campaign is pushing a new build Friday and will try to get any updates to the PD by then and answer the open
Qs about identifiers.

camillestewart@google.com 2020-10-28T21:25:03.928Z

Great!

Deleted on2022-04-21T21:25:03.928Z

Great!

jsinouye@google.com 2020-10-28T21:27:28.879Z

I've pushed Saurav to confirm rewrites about identifiers. He's been responsive today. Pushed him in the comms doc and in
Chat. Niko has chimed in, too. He asked for potential rewrites, which I gave.

Updated on2020-10-28T21:28:01.425Z

I've pushed Saurav to confirm rewrites about identifiers. He's been responsive today. Pushed him in the comms doc and in
Chat. Niko has chimed in, too. He asked for statements, which oyhers have provided.

Deleted on2022-04-21 T21:27:28.879Z

I've pushed Saurav to confirm rewrites about identifiers. He's been responsive today. Pushed him in the comms doc and in
Chat. Niko has chimed in, too. He asked for statements, which oyhers have provided.

camillestewart@google.com 2020-10-28T21:33:36.351Z

I think Saurav answered the open question about which identifiers are present. We just need consistent language which i
proposed should be the policy language. Is there a technical confirmation I'm missing?

Deleted on2022-04-21T21:33:36.351Z

I think Saurav answered the open question about which identifiers are present. We just need consistent language which i
proposed should be the policy language. Is there a technical confirmation I'm missing?

jsinouye@google.com 2020-10-28T21:35:09.240Z

I think I'm just being gun shy. Yes, I think that Saurav answered the questions. Yes, I'm for language consistent with policy
and across the email.

Deleted on2022-04-21T21:35:09.240Z

I think I'm just being gun shy. Yes, I think that Saurav answered the questions. Yes, I'm for language consistent with policy
and across the email.

jsinouye@google.com 2020-10-28T21:35:21.593Z

As far as technical confirm, I think we're OK.

Deleted on2022-04-21T21:35:21.593Z

As far as technical confirm, I think we're OK.

camillestewart@google.com 2020-10-28T21:36:11.883Z

Ok good. I know once bitten twice shy lot
 HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                       GOOG-PLAY5-000163646
Deleted on2022-04-21T21:36:11.883Z
                 Case 3:21-cv-05227-JD Document 360-28 Filed 03/27/23 Page 9 of 11
Ok good. I know once bitten twice shy lol

camillestewart@google.com 2020-10-28T21:36:18.664Z

i don't blame you

Deleted on2022-04-21T21:36:18.664Z

i don't blame you

ashrafh@google.com 2020-10-28T21:36:50.744Z

thanks for confiming, John! Camille can you have a last review at these comments and resolve if you think is ok?

Deleted on2022-04-21T21:36:50.744Z

thanks for confiming, John! Camille can you have a last review at these comments and resolve if you think is ok?

jsinouye@google.com 2020-10-28T21:37:19.549Z

Niko says that mentioning separate payloads not necessary.

Deleted on2022-04-21T21:37:19.549Z

Niko says that mentioning separate payloads not necessary.

camillestewart@google.com 2020-10-28T21:37:43.838Z

Sure. I need Niko to put eyes on the final

Deleted on2022-04-21T21:37:43.838Z

Sure. I need Niko to put eyes on the final

jsinouye@google.com 2020-10-28T21:38:02.967Z

Niko says that our concern is whether the APP is connecting Ad ID with device ID, not whether Phunware is. The app is
our area of concern

Deleted on2022-04-21T21:38:02.967Z

Niko says that our concern is whether the APP is connecting Ad ID with device ID, not whether Phunware is. The app is
our area of concern

jsinouye@google.com 2020-10-28T21:38:16.350Z

Wow! All clean!

Deleted on2022-04-21T21:38:16.350Z

Wow! All clean!

ashrafh@google.com 2020-10-28T21:38:28.983Z

lol

Deleted on2022-04-21T21:38:28.983Z


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lol               Case 3:21-cv-05227-JD Document 360-28 Filed 03/27/23 Page 10 of 11
ashrafh@google.com 2020-10-28T21:38:32.870Z

LOVE THIS!

Deleted on2022-04-21T21:38:32.870Z

LOVE THIS!

ashrafh@google.com 2020-10-28T21:38:51.000Z

Andrew will be sending the email and cc me

Deleted on2022-04-21T21:38:51.000Z

Andrew will be sending the email and cc me

linsherry@google.com 2020-10-28T21:39:50.508Z

@Ash Hassan - are you looking for explicit lgtm at the botto mof doc?

Deleted on2022-04-21T21:39:50.508Z

@Ash Hassan - are you looking for explicit lgtm at the botto mof doc?

jsinouye@google.com 2020-10-28T21:41:21.780Z

Yes, I think that we should get firm LGTMs

Deleted on2022-04-21T21:41:21.780Z

Yes, I think that we should get firm LGTMs

ashrafh@google.com 2020-10-28T21:41:33.753Z

preferably but i dont want to slow down the process if all key stakeholders are ok

Deleted on2022-04-21T21:41:33.753Z

preferably but i dont want to slow down the process if all key stakeholders are ok

jsinouye@google.com 2020-10-28T21:42:23.730Z

If Andrew said tomorrow with email, though, I'd prefer to be cautious. The campaign has a solid heads up.

Deleted on2022-04-21T21:42:23.730Z

If Andrew said tomorrow with email, though, I'd prefer to be cautious. The campaign has a solid heads up.

ashrafh@google.com 2020-10-28T21:42:34.082Z

as of now, we need Nicho, Suzanne and Shie's final LGTM

Deleted on2022-04-21T21:42:34.082Z

as of now, we need Nicho, Suzanne and Shie's final LGTM

jsinouye@google.com 2020-10-28T21:48:05.463Z


 HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                    GOOG-PLAY5-000163648
This is for exec 5 PM newsletter.
                    Case          Andrew provided
                         3:21-cv-05227-JD         the statement.
                                              Document     360-28It's not 100%
                                                                      Filed    correct, Page
                                                                            03/27/23     though,
                                                                                               11inofthat
                                                                                                       11GAPP
communicated only generally by phone. The campaign is waiting for the specific details in email.

Trump and Biden Apps Flagged for ID Bridging: PR has confirmed with VICE that they will no longer cover this story,
which was originally scheduled to be released today, and the International Digital Accountability Council has not published
the story elsewhere. GAPP communicated to the Trump campaign concerns with the campaign official app's insufficient
disclosure around certain data collection practices that is in violation of our policy. The campaign is working to push a
build on Friday to address the issue within our seven day window.

Deleted on2022-04-21T21:48:05.463Z

This is for exec 5 PM newsletter. Andrew provided the statement. It's not 100% correct, though, in that GAPP
communicated only generally by phone. The campaign is waiting for the specific details in email.

Trump and Biden Apps Flagged for ID Bridging: PR has confirmed with VICE that they will no longer cover this story,
which was originally scheduled to be released today, and the International Digital Accountability Council has not published
the story elsewhere. GAPP communicated to the Trump campaign concerns with the campaign official app's insufficient
disclosure around certain data collection practices that is in violation of our policy. The campaign is working to push a
build on Friday to address the issue within our seven day window.

rahmanj@google.com 2020-10-29T19:23:06.344Z

re: the AdAge/Pixelate report on iFunny, which is alleged to target swing states, since the allegation is it's using consumer
data I think this should receive an immediate MUwS review as well as the Team Danger review requested

Deleted on2022-04-22T19:23:06.344Z

re: the AdAge/Pixelate report on iFunny, which is alleged to target swing states, since the allegation is it's using consumer
data I think this should receive an immediate MUwS review as well as the Team Danger review requested

rahmanj@google.com 2020-10-29T19:23:30.340Z

bug is: https://buganizer.corp.googlc.com/issues/171988465

https://buganizer.corp.google.com/issues/171988465
Deleted on2022-04-22T19:23:30.340Z

bug is: https://buganizer.corp.google.com/issues/171988465

https://buganizer.corp.google.com/issues/171988465
camillestewart@google.com 2020-10-29T19:36:15.165Z

yes agreed

Deleted on2022-04-22T19:36:15.165Z

yes agreed




 HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                        GOOG-PLAY5-000163649
